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                                                                                         Form 4-1

UNITED STATES COURT OF INTERNATIONAL TRADE                                           FORM 4



  SUN METALS GROUP, LLC

                                 Plaintiff,                  SUMMONS 22-00234

          v.

  UNITED STATES; OFFICE OF THE UNITED
  STATES TRADE REPRESENTATIVE;
  KATHERINE TAI, U.S. TRADE
  REPRESENTATIVE; U.S. CUSTOMS & BORDER
  PROTECTION; CHRIS MAGNUS, U.S.
  CUSTOMS AND BORDER PROTECTION
  COMISSIONER,

                                 Defendants.


TO:    The Above-Named Defendants:

        You are hereby summoned and required to serve on plaintiff’s attorney, whose name and
address are set out below, an answer to the complaint which is herewith served on you, within 60
days after service of this summons on you, exclusive of the day of service. If you fail to do so,
judgment by default will be taken against you for the relief demanded in the complaint.

                                      /s/ Mario Toscano
                                      Clerk of the Court

                                                         Name, Address, Telephone Number and
                                                         E-mail Address of Plaintiff’s Attorney
 /s/ Brady W. Mills                                      Brady W. Mills
 Signature of Plaintiff’s Attorney                       Morris, Manning & Martin, LLP
                                                         1401 Eye Street, NW
                                                         Suite 600
 8/9/2022                                                Washington, D.C. 20005
         Date                                            (202) 216-4116
                                                         bmills@mmmlaw.com

* If the United States or an officer or agency thereof is a defendant, the time to be inserted as to
it is 60 days, except that in an action described in 28 U.S.C. § 1581(f) the time to be inserted is
14 days.
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                                                                                       Form 4-1

(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010,
eff. Jan. 1, 2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)




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